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November 9, 2018


VIA ECF

 The Honorable Virginia K. Demarchi
 United States Magistrate Judge
 Northern District of California
 San Jose Courthouse
 280 South 1st Street, Courtroom 2
 San Jose, CA 95113

Re:    Davidson, et al. v. Apple Inc., No.: 5:16-cv-4942-LHK

Dear Judge Demarchi:

    In accordance with the Court’s Standing Order No. 4(c), the following is the Parties’ joint
letter regarding their discovery dispute in this matter.

  i.   Dispute Requiring Resolution

    Apple produced emails to Plaintiffs through the discovery process. Plaintiffs believe a
portion of such emails appear to have been produced without their corresponding attachments or
imbedded images. Plaintiffs seek the production of the missing attachments and imbedded
images. Apple asserts that Apple properly produced emails, including attachments and images,
as those documents were kept in the ordinary course of business. After investigating a number
of the examples Plaintiff identified, Apple discovered that Plaintiffs’ list of “missing”
attachments included documents Apple had already produced and documents discussing
irrelevant products and issues.

 ii.   Parties’ Positions

           a. Plaintiffs’ Position

       Apple should be compelled to search for, and produce, all non-produced email
attachments and images corresponding to produced emails.

Apple Produced Emails without Their Attachments or Imbedded Images:

       Apple has produced nearly 48,000 documents in this matter, including numerous emails.
Apple generally produced the emails as threads or chains. Where an email occurred lower on a
produced email chain, Apple did not separately produce the individual emails within the chain.




                                                                                                       	
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Apple represents that it did so because it reflects how the emails are stored in the ordinary course
of business. Plaintiffs do not take issue with the production of emails as they are stored in the
ordinary course of business, nor do Plaintiffs contend that Apple should be required to produce
every email in its possession separately.

        In the course of prosecuting this case, however, Plaintiffs discovered that Apple failed to
produce certain email attachments and imbedded images that corresponded to the emails that
Apple did produce. For example, a November 21, 2016, email, Bates Numbered APL-
DAVIDSON 02432079, is part of a produced email chain. The most recent email in that chain,
dated November 24, 2016, appears on APL-DAVIDSON 02432078. The November 21, 2016,
email indicates that it originally included the attachment “<PastedGraphic-9.pdf>.” However,
the document named PastedGraphic-9.pdf does not appear to be one of the nearly 48,000
documents Apple produced.

       In 2017, in an effort to informally resolve the matter, Plaintiffs wrote to Apple and raised
the missing attachments issue. In response, Apple stated, among other things, that it would
“endeavor” to locate missing attachments to the extent Plaintiffs identified a “reasonable
number[.]”

       Although it was not Plaintiffs burden to do so, in the interest of cooperation, Plaintiffs
provided Apple an exemplar list of 1,400 documents and emails that were produced without their
corresponding attachments or imbedded images. Apple, however, refused to review the
documents, contending that the list “exceed[ed] the bounds of reasonableness.” In the same
vein, Apple faulted Plaintiffs for not specifically identifying “what portions” of the documents
included missing images or attachments, and asserted that it was “unreasonable to ask Apple to
comb through each of these 1400 documents” to determine whether the attachments had been
produced and produce the non-produced attachments.

         In a further effort to resolve this issue, Plaintiffs provided a revised list of only 248
documents—essentially 0.5% of the documents Apple produced—that appeared to be missing
attachments or images. Apple, however, rejected this offer as well. And despite Apple’s
representations below, they did not “agree” to produce the missing attachments and images in
these 248 documents until the day this letter was filed. Prior to that, they flatly rejected
Plaintiffs’ offer to compromise multiple times. Further, Apple added that (1) to the extent the
non-produced attachments had been deleted, the deletion occurred prior to the institution of its
litigation hold (which Plaintiffs understand Apple instituted in December 2016), and (2) in any
event, the non-produced attachments were irrelevant. Neither of these excuses is sufficient.

Apple’s Duty to Produce the Missing Attachments/Images:

       Rule 26(e)(1) of the Federal Rules of Civil Procedure requires Apple to supplement its
discovery responses once it learns that the responses are incomplete. Apple is “expected to
supplement and/or correct their disclosures promptly when required under that Rule, without the




                                                                                                       	
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need for a request from opposing counsel or an order from the Court.” Jones v. Travelers Cas.
Ins. Co. of Am., 304 F.R.D. 677, 679 (N.D. Cal. 2015) (Koh, J.).

        Furthermore, Apple’s insistence that Plaintiffs identify the missing attachments is not a
creditworthy solution. As courts have recognized, such proposals are “unfair and impractical.”
Nguyen v. Roth & Rau AG, No. CCB-06-1290, 2009 WL 10682036, at *3 (D. Md. July 28,
2009); Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Inc., No. 08 CIV. 7508 SAS,
2011 WL 3738979, at *7 (S.D.N.Y. Aug. 18, 2011), report and recommendation adopted, No.
08 CIV. 7508 SAS, 2011 WL 3734236 (S.D.N.Y. Aug. 24, 2011) (“[I]t would be not only
inefficient, but also patently unfair, to place the burden on . . . [the non-producing party] to
identify all of the emails that are missing attachments and to identify those emails to . . . [the
producing party] for the purpose of further productions.”). That is especially so here where it
appears that there are potentially thousands of documents that were produced that do not contain
the attachments or imbedded images.

Relevancy:

       Apple has repeatedly refused to locate and produce non-produced email attachments or
imbedded images on the basis that such attachments are either irrelevant or that determining
whether the attachments are relevant would be burdensome. Apple’s objection, however, rests
on two flawed premises.

        First, Rule 26 makes clear that “[i]nformation within this scope of discovery need not be
admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). Thus, to the extent Apple’s
objection is premised on Fed. R. Evid. 401 and 402, such concerns are misplaced and improper.

        Second, email attachments are relevant if the parent email is relevant. See, e.g., Nguyen,
2009 WL 10682036, at *2 (“Since e-mails are ordinarily stored with their attachments, and since
an e-mail typically needs to be paired with its attachment in order for either to be fully
comprehensible, those courts that have addressed this issue have held that e-mails and their
attachments must be produced together”); CP Solutions PTE, Ltd. v. Gen. Elec. Co., No. 3:04-cv-
2150, 2006 WL 1272615, at *4 (D. Conn. Feb. 6, 2006) (“Attachments should have been
produced with their corresponding e-mails.”). Moreover, imbedded images within relevant
emails are also, by definition, relevant. Apple’s suggestion that in order to prove the relevance
of the attachments and images, Plaintiffs should perform a google search of the titles of the
attachments and imbedded images to determine if they relate to the components of the phones at
issue in this case is the height of absurdity and arrogance. If Apple has determined that the
email—and the discussion contained in the email—should be produced, it must also produce the
attachments and images contained in the email.




                                                                                                     	
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The Deletion of Relevant Documents After the Commencement of Litigation Is not an Acceptable
Excuse:

Apple had a duty to preserve relevant evidence once the complaint was filed. Apple Inc. v.
Samsung Elecs. Co., 888 F. Supp. 2d 976, 990 (N.D. Cal. 2012) (“[T]here is no question that the
duty to preserve relevant evidence may arise even before litigation is formally commenced.”).
Here, the subject line and body of the November 2016 email chain referenced above makes clear
that it pertains to Plaintiffs’ core allegations: “Re: N56 Multi touch/flickering web reporting
update (Nov 20th/full)”. Because the emails were sent after August 27, 2016—the date this
action was filed—it and all its attachments should have been preserved. See Zubulake v. UBS
Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y. 2003). If any attachments to the November 2016
email were destroyed it would be a violation of Apple’s discovery obligations. Indeed, it would
be particularly concerning here, given that Apple is one of the world’s leading technology
companies, guided by sophisticated counsel, and has repeatedly litigated document preservation
issues, including before this very Court. See, e.g., Apple Inc., 888 F. Supp. 2d at 990 (Koh, J.).

Apple’s Burdensomeness Objection Should Not Be Credited:

        Apple’s objections that complying with its preservation and supplementation duties are
“overbroad,” “burdensome,” and “not proportional,” fail to consider Rule 26(b)’s explicit factors
in reviewing the proportionality of discovery requests. In fact, rule 26(b)’s factors weigh in
favor of the requests’ proportionality and compelling Apple’s responses:

              Factor 1: The issues at stake in this action are considerably important and may
               affect millions of people who have purchased the defective phones. (Compl., ¶ 93
               (Apple sold 13 million iPhone 6 and 6 Plus devices in the opening weekend
               alone).)

              Factor 2: The amount in controversy is also significant as the potential class may
               include tens of millions of individual plaintiffs.

              Factor 3: The Parties’ relative access to the information is completely one-sided
               in Apple’s favor. To the extent the attachments have not been destroyed, they
               exist entirely within Apple’s possession, custody, and control.

              Factor 4: The contention that producing material that should have already been
               produced is burdensome or not proportional is nonsensical; the notion that Apple
               lacks sufficient resources to do so is absurd. To the contrary, the availability of
               resources in this case does not favor the putative class members, but instead
               favors the first public company to achieve a trillion dollar valuation.

              Factor 5: The importance of the discovery in resolving the issue also favors
               compelling discovery. Plaintiffs expect that a significant part of their case will be




                                                                                                       	
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               supported by Apple’s internal emails, and their meaning. Depriving Plaintiffs of
               the attachments and images contained in those emails deeply prejudices Plaintiffs’
               ability to prove their case.

       In sum, Apple’s objections to producing email attachments and images are wholly
without merit. The Court should grant Plaintiffs’ request to compel.


           b. Defendant’s Position
	
         A. Overview. Plaintiffs concede that Apple properly produced documents as they are
stored in the ordinary course, but seek to compel Apple to do more. Plaintiffs do not dispute that
Apple is required only to conduct a reasonably diligent search for responsive documents, and
that it may produce documents as they are stored in the ordinary course. That is exactly what
Apple did. After Plaintiffs asked about embedded images and attachments that appeared “lower
down” in email chains, Apple investigated samples of the images Plaintiffs identified and
determined that many images related to irrelevant products or were cumulative or already
produced. Plaintiffs have nevertheless demanded that Apple comb through every record in its
production database—spanning over 2.8 million pages—and search for and produce all
embedded files, even if they have no relevance whatsoever to the products and issues in this
lawsuit.

        To avoid unnecessary motion practice and to conserve the resources of this Court, Apple
offered to search for and produce all embedded files contained in the documents identified on
Plaintiffs’ “compromise” list of 248 records (even if those embedded files are irrelevant).
Plaintiffs rejected Apple’s offer, insisting that Apple must produce all embedded files contained
in all 48,000 of its produced records. Because Plaintiffs failed to meet their burden to show that
all such embedded files are relevant and proportional to the needs of the case, the Court should
deny Plaintiffs’ motion.

        B. Background. Plaintiffs admit that Apple produced records in the form it maintains
them in the ordinary course of business. Apple did not remove any embedded images and
attachments when it produced emails. Rather, when an email recipient “replies” to an email that
has images or files attached to it, those images and files do not appear in the original sender’s
email in the ordinary course, but a filename is embedded in the text of the email chain going
forward.

        As Plaintiffs further admit, Apple has no obligation to produce every single, original
email in its possession separately. Because Apple employees may work on multiple projects and
multiple different issues, Apple’s production includes many emails that are part of long chains,
and only a portion of those chains relate to relevant issues. Apple produced emails that
contained any relevant information in their entirety and with the entire email chain―including
discussions “lower in the chain” that often involved different products (e.g., iPads) or unrelated
issues (e.g., camera issues).



                                                                                                     	
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        Plaintiffs first raised the issue of supposedly “missing” images and attachments in
December 2017. Apple offered to search for a reasonable number of relevant images and files
that Plaintiffs believed to be “missing.” In response, Plaintiffs provided Apple with a list of
almost 1400 documents that Plaintiffs claimed referred to “missing” embedded images and files.
Apple reasonably investigated a sample of the documents on Plaintiffs’ list―only to determine
that Plaintiffs’ list included PDF and Excel files with no “embedded” images, and emails
referring to potentially thousands of embedded filenames that Apple produced in its production
in original form, or that related to irrelevant products or issues. Plaintiffs admitted that they had
generated their list through automated searching, without undertaking to determine whether any
of the requested images and files were relevant or already produced.

         Plaintiffs subsequently narrowed their request to a list of 248 documents. Among those
on Plaintiffs’ list, however, were documents regarding multiple different Apple products, whose
embedded images and attachments did not even relate to the iPhones at issue. Apple reiterated
that it was not proportional to the needs of the case for Apple to comb through each document on
Plaintiffs’ list to identify (1) which of the embedded images have already been produced and (2)
which might actually be relevant. Nevertheless, Apple repeated its offer to conduct a reasonable
search if Plaintiffs believed that certain relevant images or files had not been produced.

        C. Apple Is Not Required to Produce Irrelevant Information or Unduly
Burdensome Discovery. In Plaintiffs’ renewed motion for class certification, Plaintiffs stated
that the “products in question are the iPhone 6 and iPhone 6 Plus” and “the defect in question is
the touchscreen.” (ECF No. 270 at 1.) Plaintiffs fail to meet their burden of establishing that the
requested discovery is relevant to those products and issues and proportional to the needs of the
case.

        Plaintiffs’ motion seeks to compel Apple to search for and produce thousands—perhaps
even tens of thousands—of irrelevant embedded files. Apple’s sampling of documents on
Plaintiffs’ identified lists quickly revealed that much of the requested information was irrelevant.
For example, Plaintiffs’ list included a 17-page report (APL-DAVIDSON_02397919)
summarizing issues across multiple different Apple products. The report contained over 30
embedded files in “lower” email chains—all of which related to irrelevant Apple products and
issues, such as:

              iPhone 7-related nickel foot improvements
              iPhone 6S-related equipment maintenance, drill bits, and camera updates; and
              iPad-mini-related improvements.

       When Apple asked Plaintiffs to identify what embedded files in this document they
believed were relevant, Plaintiffs asserted that “a fortiori, images embedded in produced emails
are obviously relevant.” In other words, Plaintiffs took the position that all embedded files in
Apple’s production are relevant—even if they relate to drill bits in the iPhone 6S—merely




                                                                                                        	
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because Apple produced the document. Apple prepares many summary documents in the
ordinary course that involve multiple different products and issues. During discovery, if Apple
identified an email as responsive, and that email, as kept in the ordinary course, included
attachments and images, all attachments and images (no matter how irrelevant) were produced to
Plaintiffs. Apple has no obligation to conduct even more searches for irrelevant embedded files
that have nothing to do with the iPhone 6 and 6 Plus touchscreens at issue here.

        Although Apple offered multiple times to search for relevant embedded files that Apple
has not already produced, Plaintiffs have consistently insisted that Apple comb through all 2.8
million pages of its production and hunt down each and every irrelevant embedded file
referenced. Such a request is unreasonable and not proportional to the needs of the case.
Plaintiffs have failed to show that embedded files relating to irrelevant products and issues have
any “importance . . . in resolving the issues” in dispute. See Fed. R. Civ. P. 26(b); G.P.P., Inc. v.
Guardian Prot. Prods., Inc., No. 1:15-cv-00321-SKO, 2016 U.S. Dist. LEXIS 88926, at *2 (E.D.
Cal. July 8, 2016) (“The relevance of each document in a document ‘family’ should be assessed
separately.”).

        Nor have Plaintiffs shown that the “the burden or expense of the proposed discovery
outweighs its likely benefit.” See Fed. R. Civ. P. 26(b); Abu Dhabi Commercial Bank v. Morgan
Stanley & Co., No. 08 Civ. 7508 (SAS), 2011 U.S. Dist. LEXIS 95912, at *31-32 (S.D.N.Y.
Aug. 18, 2011) (allowing withholding of email attachments based on undue burden), report and
recommendation adopted, 2011 U.S. Dist. LEXIS 94727, at *6-7 (S.D.N.Y. Aug. 24, 2011).
Plaintiffs’ request would pose undue burden without any showing that such burden will yield
relevant and noncumulative discovery. Consider the email discussed above with 30-embedded
images. Apple would need to track down and collect each and every original email thread (well
over a dozen), conduct further searches to determine if they have already been produced, and
review the attachments to each original email thread to determine responsiveness (all are
irrelevant). Apple would need to repeat that process 48,000 times, covering 2.8 million pages of
records.

         Plaintiffs’ case authority supports Apple or is distinguishable. In Abu Dhabi, for
example, the court agreed that the producing party could withhold e-mail attachments that were
either irrelevant or unduly burdensome to collect and produce. Id. at *32. Plaintiffs’ citations to
Nguyen v. Roth & Rau AG, No. CCB-06-1290, 2009 U.S. Dist. LEXIS 138187, at *5 (D. Md.
July 28, 2009), and CP Sols. PTE, Ltd. v. GE, No. 3:04cv2150(JBA) (WIG), 2006 U.S. Dist.
LEXIS 27053, at *9 (D. Conn. Feb. 6, 2006), are distinguishable. The defendants there did not
produce emails as kept in the ordinary course, and the requested discovery was not burdensome.

      Plaintiffs’ motion to compel Apple to undergo significant burden to find irrelevant
embedded images should be denied. 1
																																																								
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                Plaintiffs’ attempt to justify their unreasonable requests by suggesting that Apple has
not complied with its preservation obligations is meritless. Plaintiffs mischaracterize the timing
of the litigation hold, and Plaintiffs cannot identify any instance of a relevant document that was



                                                                                                          	
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 iii.        Parties’ Views Regarding the Necessity of a Hearing

            a. Plaintiffs’ Position
        A hearing is warranted in this matter because Defendant’s position is unclear. Defendant
claims the missing attachments are irrelevant (despite being embedded in emails Defendant
produced as relevant). Defendant also claims the missing images were not produced because
Defendant is under no obligation to search and locate them. Moreover, Plaintiffs have identified
emails with missing attachments that were created and sent after this litigation began, raising the
specter that those attachments were deleted by Apple prior to production. These issues weigh in
favor of a hearing before the Court.

                b. Defendant’s Position

   If the Court believes a hearing would be helpful to further discuss the undue burden imposed
by Plaintiffs’ unreasonable requests to produce irrelevant, previously-produced, and/or
cumulative documents, Apple is available for a hearing at the Court’s convenience.

 iv.    Discovery Cut-off Dates
Fact discovery cut-off is Friday, November 9, 2018.
Expert discovery cut-off is Friday, March 8, 2019.

  v.   Compliance with Meet and Confer Requirements
   Lead counsel for the parties conferred telephonically regarding this dispute on November 5,
2018. Present on the call were David C. Wright (lead counsel), R.C. Harlan, and Uri Niv on
behalf of Plaintiffs, and Arturo J. González (lead counsel), Tiffany Cheung, and Christopher L.
Robinson for Defendant.


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improperly destroyed after a duty to preserve documents arose in this case. Plaintiffs never
identified the “example” cited in their motion (APL-DAVIDSON_02432078) during any meet
and confers. In any event, this “example” appears substantially similar to and cumulative of
other documents in Apple’s production (e.g., APL-DAVIDSON_02395039). Consistent with
Apple’s repeated offers, however, Apple will search for a copy of the original November 21,
2016 email with attachments and, when located, will promptly produce it.




                                                                                                      	
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Dated: November 9, 2018                           McCUNE WRIGHT AREVALO, LLP

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Dated: November 9, 2018                           MORRISON & FOERSTER LLP

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                Filer attests that all signatories listed concur in the filing’s content and have authorized
the filing pursuant to Local Rule 5-1(i)(3).




                                                                                                               	
